
ORDER AMENDING OPINION AND AMENDED OPINION
GOULD, Circuit Judge.
ORDER
Respondent’s Unopposed Request for Modification of the Decision is GRANTED. The opinion filed on June 8, 2006, and published at 450 F.3d 415 (9th Cir.2006), is AMENDED as follows.
On page 422 of the opinion, the first paragraph under the subheading “B. The Merits of Almaghzar’s CAT Claim” begins as follows:
To receive the protection of the CAT, an alien must prove that it is more likely than not that the alien would be tortured if removed. 8 C.F.R. § 208.16(c)(2). An alien must establish that he or she would be tortured on account of a particular belief or immutable characteristic. Kamalthas, 251 F.3d at 1283. Because this a factual determination, the substantial evidence test governs our review. Monjaraz-Munoz, 327 F.3d at 895.
The second sentence of that paragraph is deleted, and the citation to Kamalthas is moved to follow the citation to 8 C.F.R. § 208.16(c)(2), so that the final paragraph now begins as follows:
To receive the protection of the CAT, an alien must prove that it is more likely than not that the alien would be tortured if removed. 8 C.F.R. § 208.16(c)(2); Kamalthas, 251 F.3d at 1283. Because this is a factual determination, the substantial evidence test governs our review. Monjaraz-Munoz, 327 F.3d at 895.
IT IS SO ORDERED.
OPINION
Petitioner-Appellant Abdul Almaghzar (Almaghzar), a native and citizen of Yemen, appeals the district court’s denial of his petition for a writ of habeas corpus. We construe his petition as a timely filed petition for review of a decision of the Board of Immigration Appeals (BIA).1 In his petition Almaghzar con*918tends (1) that the frivolous asylum application bar was erroneously applied to his asylum application, (2) that the Immigration Judge (IJ) incorrectly disregarded testimony that explained discrepancies in Almaghzar’s testimony, (3) that Almaghzar was not allowed to present a claim under the Convention Against Torture (CAT),2 (4) that Almaghzar’s hearing violated his right to due process under the Fifth Amendment,3 and (5) that the IJ erred in concluding that Almaghzar’s two prior criminal convictions were particularly serious crimes. In its reasoned opinion the BIA rejected these arguments, and we affirm.
I
Almaghzar arrived in the United States from Yemen in November of 1992. Almaghzar filed a Request for Asylum dated December 9, 1992, in which he gave an Anaheim, California, address. In his asylum application, Almaghzar stated that if forced to return to Yemen he feared persecution from pro-Communist forces there. The Immigration and Naturalization Service (INS) denied Almaghzar’s application in March of 1994. Thereafter Almaghzar retained counsel, and his case was reopened and remained pending until 1998. Sometime between 1994 and 1998 Almagh-zar moved to Oregon.4 In April of 1997 he married a U.S. citizen and filed an adjustment application. Before Almaghzar’s application could be processed the marriage dissolved, and in 1998 the INS initiated removal proceedings against Almaghzar in Portland. At a hearing before the IJ on September 13, 1998, Almaghzar agreed to submit his original asylum application, which was then still pending in California, to the Immigration Court in Oregon. The parties disagree whether this submission was a new application for asylum, or was a transfer of Almaghzar’s then-pending application.
On November 13, 1998, the IJ denied Almaghzar’s application for asylum and withholding of removal because the IJ found that Almaghzar was not credible, and the IJ ordered Almaghzar removed to Yemen. Further, the IJ found that Almaghzar had filed a frivolous asylum application and that, as a result, he was “permanently ineligible for any benefits” under the Immigration and Nationality Act. 8 U.S.C. § 1158(d)(6). The IJ found that Almaghzar was not credible, in part because Almaghzar had told two different tales about his treatment in Yemen.5 At the time of the IJ’s decision, relief under *919the CAT was not available because Congress had not yet implemented the provisions of the CAT prohibiting the return of aliens to countries where they would be in danger of suffering torture.6
Amaghzar appealed the IJ’s decision to the BIA, but while his case was pending on that appeal he was charged by the United States with one count of fraudulently trading food stamps for methamphetamine in violation of 7 U.S.C. § 2024(b) and with one count of knowingly and intentionally distributing methamphetamine in violation of 21 U.S.C. § 841(a)(1).7 He pled guilty to both charges on July 27, 2000, and on October 2, 2000, Amaghzar was sentenced to thirty-seven months in federal prison. After serving his sentence he was released into the custody of the INS and detained pursuant to 8 U.S.C. § 1226(c)(1)(B).8 The INS notified the BIA that Amaghzar had been convicted of distribution of methamphetamine, and the BIA construed this notice as a request for remand to the IJ, which the BIA granted.
The IJ, who had last conducted proceedings in this case in November 1998, then held another hearing on June 30, 2003. Amaghzar called as a witness Dr. Givi, a licensed clinical psychologist, in an effort to rehabilitate Amaghzar’s earlier testimony that had been discredited by the IJ. Dr. Givi explained that as the basis for his testimony he had interviewed and observed Amaghzar, conducted “a large number of assessments,” and reviewed documents from Amaghzar’s attorney, including Amaghzar’s pre-hearing statement, his Request for Asylum, his affidavit, the oral decision of the IJ, and Amaghzar’s brief on appeal to the BIA.
Dr. Givi testified that Amaghzar suffered from post-traumatic stress disorder stemming from imprisonment and torture in Yemen and from sexual abuse suffered at a young age. Dr. Givi also testified that post-traumatic stress disorder often impairs memory and the ability to concentrate, and that these symptoms explained the inconsistencies in Amaghzar’s prior testimony. Athough Dr. Givi was aware of Amaghzar’s conviction for distributing methamphetamine, Dr. Givi was not aware of Amaghzar’s conviction for food stamp fraud. For this reason, the IJ disregarded Dr. Givi’s testimony, concluding that Amaghzar’s fraud conviction for his role in a complex criminal enterprise in which he had sold methamphetamine for food stamps was inconsistent with Dr. Givi’s opinion that Amaghzar was incapable of complex, non-linear thinking.
At the same hearing Amaghzar offered evidence in support of his CAT claim, including reports detailing that torture does occur in Yemen. Amaghzar also testified at the hearing, offering an account of his *920activities in Yemen that differed from both AJmaghzar’s affidavit and his testimony at his first hearing. The IJ denied Almagh-zar’s request for asylum and for withholding of removal, found that Almaghzar had filed a frivolous application for asylum, found that Almaghzar had no valid claim under the CAT, and ordered Almaghzar removed to Yemen. Almaghzar appealed to the BIA, which affirmed the IJ’s decision.
II
On a petition for review, the BIA’s decisions regarding purely legal questions are reviewed de novo, “giving deference to the BIA’s interpretation unless that interpretation is contrary to the plain and sensible meaning of the statute.” Simeonov v. Ashcroft, 371 F.3d 532, 535 (9th Cir.2004). BIA decisions regarding whether an alien is eligible for asylum must be affirmed if supported by substantial evidence. Karouni v. Gonzales, 399 F.3d 1163, 1170 (9th Cir.2005). “We review the BIA’s findings of fact, including credibility findings, for substantial evidence and must uphold the BIA’s finding unless the evidence compels a contrary result.” Monjaraz-Munoz v. INS, 327 F.3d 892, 895 (9th Cir.2003). Congress has codified this deferential standard of review. See 8 U.S.C. § 1252(b)(4)(B) (“[T]he administrative findings of fact are conclusive unless any reasonable adjudicator would be compelled to conclude the contrary.”).
III
We first address Almaghzar’s challenge to the IJ’s determination that the frivolous asylum application bar applied in this case. The frivolous asylum application bar, id. § 1158(d)(6), renders an alien permanently ineligible for immigration benefits if his or her asylum application is found to be knowingly frivolous. The statute requires that an asylum applicant receive notice of the consequences of filing a frivolous application. Id. § 1158(d)(4)(A).9 Under the regulations implementing the frivolous asylum application bar, an application is frivolous “if any of its material elements is deliberately fabricated.” 8 C.F.R. § 1208.20. The regulations require that a finding of frivolousness “only be made if the immigration judge or the Board is satisfied that the applicant, during the course of the proceedings, has had sufficient opportunity to account for any discrepancies or implausible aspects of the claim.” Id. The frivolous asylum application bar applies to asylum applications filed on or after April 1, 1997. Id. Almaghzar does not challenge the substantive determination that his asylum application was frivolous. Rather, he argues that, because he filed his application in 1992, the frivolous asylum application bar does not apply to him. The parties dispute whether, in submitting his application to the Immigration Court in Oregon in 1998, Almaghzar filed a new application or instead transferred his application that was then pending in California.
Aliens seeking judicial review of a final order of removal must first exhaust all available administrative remedies. 8 U.S.C. § 1252(d)(1). While before the IJ, Almaghzar never claimed to have filed his asylum application before the frivolous asylum application bar took effect — not even when the IJ warned him about the frivolous asylum application bar’s potential applicability and asked whether, notwithstanding that risk, he wanted to proceed with his application. Nor did Almaghzar *921raise the timing issue when he challenged the IJ’s application of the bar before the BIA. Accordingly, we hold that Almaghzar has not exhausted his claim that he filed his application before the frivolous asylum application bar took effect, and we decline to review this claim.
IV
We do not address whether the frivolous asylum application bar precludes a claim under the CAT because that was not the basis upon which the IJ and the BIA denied relief on Almaghzar’s CAT claim. See SEC v. Chenery Corp. (Chenery II), 332 U.S. 194, 199, 67 S.Ct. 1575, 91 L.Ed. 1995 (1947) (“[A] reviewing court, in dealing with a determination or judgment which an administrative agency alone is authorized to make, must judge the propriety of such action solely by the grounds invoked by the agency.”). Instead, we review the BIA’s determination that Almaghzar did, in fact, have an opportunity to present a CAT claim, and its determination that Almaghzar’s CAT claim lacked merit. Almaghzar contends that both of these conclusions are in error, arguing that Ms second hearing was plagued by due process violations and that the substantive determination that he was not entitled to CAT relief is incorrect. We address these arguments in turn.
A. Almaghzar’s Due Process Claims
Almaghzar claims that he suffered various violations of his due process rights during his second hearing before the IJ. We address each of Almaghzar’s contentions below.
First, Almaghzar asserts that the IJ prevented Almaghzar from presenting evidence to support his claim under the CAT. However, the transcript of the hearing shows that Almaghzar was allowed to present evidence in support of his CAT claim. Dr. Givi testified about his psychological evaluation of Almaghzar, Almagh-zar presented several reports describing torture in Yemen, and Almaghzar testified at length about the inconsistencies in his prior testimony, his activities in Yemen, and his asylum application. Because Almaghzar was allowed to present evidence regarding his CAT claim, and because Almaghzar’s presentation was not limited in any meaningful respect, we reject Almaghzar’s due process claim.
Almaghzar’s second claim is that his right to due process was violated when the IJ allowed the adverse credibility determination to dictate the outcome of the CAT claim. Under Kamalthas v. INS, 251 F.3d 1279 (9th Cir.2001), claims under the CAT are analytically separate from an application for asylum. Id. at 1283. The Kamalthas court held that the BIA abused its discretion when it refused to reopen Kamalthas’s case, which presented a new CAT claim, when Kamalthas’s asylum application had previously been denied because Kamalthas was found not credible. Id. at 1280. Because the elements of a CAT claim are different from a claim for asylum, the Kamalthas court held that the BIA erred in relying on its previous adverse credibility determination and in refusing to consider documentary evidence of torture in Kamalthas’s native Sri Lanka, thus denying Kamalthas the opportunity to make a prima facie case. Id. at 1284.
Here, there was no denial of consideration of the documentary evidence. Almaghzar presented additional information supporting his CAT claim, including reports detailing human rights abuses in Yemen. Kamalthas requires that an applicant be given the opportunity to make a claim under the CAT by introducing documentary evidence of torture, but neither Kamalthas nor due process requires an IJ to rely on that evidence to grant relief *922when the applicant is not credible. Further, the IJ specifically said that “[t]he Court has considered all of the evidence, documentary and testimonial, whether or not I specifically mention it here,” and the IJ concluded that there was “no basis to find a Convention Against Torture claim.” We do not interpret or extend Kamalthas to require more.
Third, Almaghzar challenges the determination that Dr. Givi was not credible. This factual determination may be overturned only if the evidence compels a contrary result. Monjaraz-Munoz, 327 F.3d at 895. The IJ discounted Dr. Givi’s testimony after discovering that Dr. Givi did not know of Almaghzar’s conviction for a scheme in which Almaghzar had distributed methamphetamine for food stamps; the IJ concluded that Almaghzar’s conviction was inconsistent with Dr. Givi’s contention that Almaghzar was incapable of “functioning in a linear fashion.” The evidence does not compel the conclusion that Dr. Givi’s testimony was credible, and we therefore will not reverse the IJ’s negative credibility determination.
Fourth, Almaghzar claims that the IJ did not consider the documentary evidence of torture in Yemen. The IJ did not specifically discuss the documentary evidence in his oral decision, apart from his general statement that he had considered all documentary and testimonial evidence, whether or not discussed. Almaghzar attacks this as “boilerplate” language, arguing that the evidence should have received “individualized consideration” as required by 8 C.F.R. § 1208.16(c)(3). That regulation, however, does not require an IJ’s decision to discuss every piece of evidence; it requires only that the IJ consider all evidence. Id. § 1208.16(c)(3). Because there is no evidence that the IJ failed to consider Almaghzar’s documentary evidence, we accept the IJ’s general statement that he considered all the evidence before him.
Finally, Almaghzar claims that the IJ conducted the second hearing in a partisan matter. He compares the IJ’s conduct during the hearing to that of the IJ in Colmenar v. INS, 210 F.3d 967 (9th Cir.2000), who refused to let Colmenar testify about certain critical aspects of his claims. Id. at 972. Even though Almaghzar’s IJ expressed skepticism about how Dr. Givi’s testimony could provide insight on the credibility determination, the IJ allowed Dr. Givi to testify. This distinguishes Almaghzar’s claim from that presented in Colmenar. Although the IJ showed impatience at times, Almaghzar had ample opportunity to present his case, and the record as a whole does not suggest that the IJ did not conduct the hearing with an open mind.
In sum, the IJ did not violate Almagh-zar’s due process rights during the second hearing.
B. The Merits of Almaghzar’s CAT Claim
To receive the protection of the CAT, an alien must prove that it is more likely than not that the alien would be tortured if removed. 8 C.F.R. § 208.16(c)(2); Kamalthas, 251 F.3d at 1283. Because this is a factual determination, the substantial evidence test governs our review. Monjaraz-Munoz, 327 F.3d at 895. The evidence supporting Almaghzar’s claim is his discredited testimony and general reports indicating that torture occurs in Yemen. Because Almaghzar’s testimony was found not credible, to reverse the BIA’s decision we would have to find that the reports alone compelled the conclusion that Almaghzar is more likely than *923not to be tortured.10 Although the reports confirm that torture takes place in Yemen, they do not compel the conclusion that Almaghzar would be tortured if returned. Therefore, we defer to the IJ and BIA’s determination that relief under the CAT is unavailable.11
Y
We are without jurisdiction to review Almaghzar’s claim that the IJ erred in concluding that Almaghzar’s felony convictions constituted particularly serious crimes that bar him from withholding of removal. “[N]o court shall have jurisdiction to review any final order of removal against an alien who is removable by reason of having committed a criminal offense covered in section 1182(a)(2)....” 8 U.S.C. § 1252(a)(2)(C).
Nevertheless, we may review claims that an applicant’s constitutional rights were violated. Id. § 1252(a)(2)(D). Almaghzar argues that his Fifth Amendment right to due process was violated when the IJ disregarded Dr. Givi’s testimony, did not permit Almaghzar to testify about the circumstances surrounding his criminal conviction, and conducted the hearing in a partisan, adversarial manner. As discussed in the previous section, Almaghzar was allowed to present the testimony of Dr. Givi, Almaghzar’s ability to present evidence was not impaired in any way, and the IJ conducted the hearing in a fair manner. We reject Almaghzar’s due process challenge to the IJ’s determination that Almaghzar’s crimes were particularly serious.
VI
Almaghzar fails to present this court with evidence that compels the conclusion that the IJ and BIA erred in finding that Almaghzar and Dr. Givi were not credible. Furthermore, Almaghzar’s due process claims are without merit, as it is clear on the record that he had ample opportunity to present his CAT and asylum claims, and that the IJ was not biased. Accordingly, treating Almaghzar’s habeas petition in the district court as a petition for review of the BIA decision, we agree with the denial of relief by the BIA, and the petition for review is hereby denied.
PETITION FOR REVIEW DENIED.

. After Almaghzar filed his habeas petition in the district court, and after the district court denied Almaghzar’s petition, Congress enacted the REAL ID Act of 2005, Pub.L. No. 109-13, 119 Stat. 231. Section 106(a) of that Act makes "the circuit courts the 'sole' judicial body able to review challenges to final orders of deportation, exclusion, or removal.” Alvarez-Barajas v. Gonzales, 418 F.3d 1050, 1052 (9th Cir.2005). The REAL ID Act eliminates habeas jurisdiction under 28 U.S.C. § 2241 over final orders of deportation, exclusion, and removal. Alvarez-Barajas, 418 F.3d at 1052. The Act requires that all habeas petitions pending before the district courts at the time of enactment be transferred to the circuit courts, but it is silent about how habeas petitions then pending on appeal before the circuit courts should be treated. Id. at 1053. In Alvarez-Barajas we held that any such petition "should be construed as if it were a timely filed petition for review with this court.” Id. Applying this precedent, we conclude that the substantive and procedural provisions of the REAL ID Act govern Almagh-zar's claims.


. Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, Dec. 10, 1984, S. Treaty Doc. No. 100-20 (1988), 1465 U.N.T.S. 85.


. The Fifth Amendment reads, in relevant part, "No person shall ... be deprived of life, liberty, or property, without due process of law....” U.S. Const. amend. V.


. The record does not indicate when Almagh-zar moved to Oregon. His 1992 Request for Asylum listed an Anaheim, California address, the adjustment application that Almaghzar filed after he married a U.S. citizen is not in the record, and the record does not tell us where Almaghzar lived between 1994 and 1998.


.The discrepancies between his stories need not be recounted, because Almaghzar does not argue that the IJ erred in determining that the stories were inconsistent to the point that they were not credible. Nor does he contend that translation errors caused the inconsistencies. Although Almaghzar testified at his second hearing and claimed before the BIA that his affidavit and the transcript of his first hearing contained translation errors, he does not press this claim on appeal. Rather, he argues that testimony at a later hearing by Dr. Givi, a licensed clinical psychologist, explains the inconsistencies.


. The United States ratified the CAT in 1994. Congress implemented Article 3 of the CAT on October 21, 1998, with the Foreign Affairs Reform and Restructuring Act of 1998. Pub.L. No. 105-277, § 2242, 112 Stat. 2681-822 (codified at 8 U.S.C. § 1231 note).


. The indictment, filed March 1, 2000, charged Almaghzar with three counts of using "a food benefit authorization card in a manner not authorized by law” and three counts of "unlawfully and intentionally distribuí[ing] methamphetamine, a schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).” In a superseding information filed on June 29, 2000, the U.S. Attorney charged Almaghzar with one count of using a food benefit authorization card in connection with the delivery of methamphetamine in violation of 7 U.S.C. § 2023(b), and with one count of distributing methamphetamine in violation of 21 U.S.C. § 841(a)(1).


. This statute provides, in relevant part, "The Attorney General shall take into custody any alien who ... is deportable by reason of having committed any offense covered in section 1227(a)(2)(A)(ii), (A)(iii), (B), (C), or (D).” 8 U.S.C. § 1226(c)(1)(B).


. Almaghzar does not dispute that he received notice of the consequences of filing a frivolous asylum application as required by 8 U.S.C. § 1158(d)(4)(A).


. Jon E. Mandaville, a professor in the History Department and Middle East Studies Center at Portland State University, testified before the district court that Almaghzar was likely to be tortured upon his return to Yemen. Because we now review the BIA decision, rather than the district court decision, it is questionable whether this testimony is properly before us. However, assuming without deciding that this testimony is before us, we find it unhelpful. Professor Mandaville explicitly conditioned his conclusion that Almaghzar is likely to be tortured upon his return on the assumption that Almaghzar's testimony was truthful, which the IJ found not to be the case.


. The dissent argues that we should remand Almaghzar’s CAT claim to the BIA under INS v. Ventura, 537 U.S. 12, 123 S.Ct. 353, 154 L.Ed.2d 272 (2002) (per curiam), and Gonzales v. Thomas, - U.S. -, 126 S.Ct. 1613, 164 L.Ed.2d 358 (2006) (per curiam), because the dissent claims that we are deciding Almaghzar's CAT claim in the first instance.
Ventura and Thomas require that we remand when the agency has not yet considered the issue. See Thomas, 126 S.Ct. at 1615; Ventura, 537 U.S. at 17, 123 S.Ct. 353. But we here hold that the IJ and BIA decided the merits of Almaghzar’s CAT claim, with the benefit of the country condition reports Almaghzar introduced into evidence, and the IJ generally said that he had considered all evidence. Neither Ventura nor Thomas require us to remand an issue to the agency when the agency has already considered the issue.

